     Case 2:10-md-02179-CJB-DPC Document 6661-2 Filed 06/12/12 Page 1 of 3




                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                     :   MDL NO. 2179
       “DEEPWATER HORIZON” in the                   :
       GULF OF MEXICO, on                           :   SECTION: J
       APRIL 20, 2010                               :   JUDGE BARBIER
                                                    :   MAG. JUDGE SHUSHAN
                                                    :
                                                    :   JURY TRIAL DEMANDED
                                                    :
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THIS DOCUMENT RELATES TO 10-2771 and 10-4536


            CAMERON’S BRIEF IN SUPPORT OF MOTION FOR SUMMARY
                JUDGMENT DISMISSING CLAIMS OF BP PARTIES

                      In support of its motion for summary judgment dismissing all the claims of BP

parties asserted against it in this proceeding (Docs. 2064 and 2065), Cameron International

Corporation (“Cameron”) respectfully submits the following.

                      1.    The BP parties have settled with Cameron and released all their claims

against Cameron. All those claims should therefore be dismissed.

                      2.     Included in the BP pleadings against Cameron is a purported Rule 14(c)

tender of claims to Cameron in the United States case, No. 10-4536, asserted in paragraph 10 of

Doc. 2065. Because of the release of Cameron by BP, and for the reasons stated in Cameron’s

motion to strike the tender (Doc. 2894), this purported tender should be explicitly stricken or

dismissed along with the other claims made by BP against Cameron.

                      3.    In addition, in its settlements with Anadarko, MOEX, and Weatherford,

BP was assigned all the claims against Cameron asserted by those parties. See Docs. 4591,

5670-1. BP’s release of claims against Cameron also applies to the claims asserted by those

383.00017/499454.v1
     Case 2:10-md-02179-CJB-DPC Document 6661-2 Filed 06/12/12 Page 2 of 3




parties. All those claims should likewise be dismissed under the terms of the release in the BP

settlement with Cameron.

Respectfully submitted,


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383.00017/499454.v1
     Case 2:10-md-02179-CJB-DPC Document 6661-2 Filed 06/12/12 Page 3 of 3




                                  CERTIFICATE OF SERVICE


           I hereby certify that the above and foregoing document has been served on All Counsel

by electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial

Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of the

United States District Court for the Eastern District of Louisiana by using the CM/ECF System,

which will send a notice of electronic filing in accordance with the procedures established in

MDL 2179, on this 12th day of June, 2012.



                                                /s/ David J. Beck




383.00017/499454.v1
